ll in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                The Diocese of Rochester

2.   All other names debtor
     used in the last 8 years
     Include any assumed           The Roman Catholic Diocese of Rochester
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  1150 Buffalo Road
                                  Rochester, NY 14624
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Monroe                                                         Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.dor.org


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    The Diocese of Rochester                                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                8131

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                 Case number
                                                 District                                 When                                 Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                    Relationship
                                                 District                                 When                             Case number, if known




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Debtor   The Diocese of Rochester                                                                  Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                    Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                            Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                            Is the property insured?
                                                No
                                                Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                              1,000-5,000                                25,001-50,000
    creditors                       50-99                                             5001-10,000                                50,001-100,000
                                    100-199                                           10,001-25,000                              More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities           $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




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Debtor    The Diocese of Rochester                                                                 Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      09/12/19
                                                  MM / DD / YYYY


                             X   /s/ Lisa M. Passero                                                      Lisa M. Passero
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Financial Officer




18. Signature of attorney    X   /s/ Stephen A. Donato                                                     Date 09/12/19
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Stephen A. Donato
                                 Charles J. Sullivan
                                 Ingrid Palermo
                                 Printed name

                                 Bond, Schoeneck & King, PLLC
                                 Firm name

                                 One Lincoln Center
                                 Syracuse, NY 13202

                                 and

                                 350 Linden Oaks, hird Floor
                                 Rochester, NY 14625
                                 Number, Street, City, State & ZIP Code

                                                                                                    sdonato@bsk.com
                                                   (315) 218-8000                                   csullivan@bsk.com
                                 Contact phone     (585) 362-4700                Email address      ipalermo@bsk.com

                                 101522 (NDNY)
                                 507717 (NDNY)
                                 510678 (NDNY)
                                 Bar number and State




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A
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M
a
x




                     Aaron Kelly
                     223 1st Street
                     Breesport, NY 14816


                     Abila, Inc.
                     Dept. 3303
                     P.O. Box 123303
                     Dallas, TX 75312-3303


                     Abila, Inc.
                     10800 Pecan Park Boulevard
                     Suite 400
                     Austin, TX 78750


                     ACE American Insurance Company
                     5505 N. Cumberland Avenue
                     Suite 307
                     Chicago, IL 60656


                     Adam D. Horowitz, Esq.
                     Horowitz Law
                     425 North Andrews Avenue, Suite 2
                     Fort Lauderdale, FL 33301


                     ADP Work Force Now
                     One ADP Boulevard
                     Roseland, NJ 07068


                     ADP, LLC
                     P.O. Box 842875
                     Boston, MA 02284-2875


                     All Saints
                     222 Dodge Avenue
                     Corning, NY 14830


                     All Saints
                     347 Ridge Road
                     Lansing, NY 14882


                     All Saints Academy
                     158 State Street
                     Corning, NY 14830-2594




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                 Allied Building Products
                 1160 Scottsville Road
                 Rochester, NY 14624


                 Amos T. Hall, Jr.
                 c/o Nixon Law Firm
                 102 East Smith Street, Suite 100
                 Herkimer, NY 13350


                 Apostolic Nunciature
                 3339 Massachusetts Avenue, NW
                 Washington, DC 20008


                 Berkley National Insurance Company
                 215 Shuman Boulevard
                 Suite 200
                 Naperville, IL 60563


                 Blessed Sacrament, Rochester
                 259 Rutgers Street
                 Rochester, NY 14607


                 Blessed Trinity
                 300 Main Street
                 Owego, NY 13827


                 Blessed Trinity
                 11956 Washington Street
                 Wolcott, NY 14590


                 Bradley W. Komanecky
                 700 Crossroads Building
                 2 State Street
                 Rochester, NY 14614


                 Business Needs
                 4201 Shortsville Road
                 Shortsville, NY 14548


                 Butch's Handyman Service LLC
                 8950 Route 31
                 Lyons, NY 14489-9392




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                 Butch's Handyman Services LLC
                 P.O. Box 317
                 Lyons, NY 14489


                 Butch's Handyman Services LLC
                 8950 Route 31
                 Lyons, NY 14489-9392


                 Camp Stella Maris of Livonia, Inc.
                 4395 Lake Road
                 Livonia, NY 14487


                 Canandaigua Quick Print
                 330 South Main Street
                 Canandaigua, NY 14424


                 Cascade Recovery
                 1845 Emerson Street
                 Rochester, NY 14606


                 Cascades Recovery
                 1845 Emerson Street
                 Rochester, NY 14606


                 Cathedral Community
                 296 Flower City Park
                 Rochester, NY 14615


                 Catholic Charities - Livingston County
                 34 E. State Street
                 Mount Morris, NY 14510-9727


                 Catholic Charities - Office of Director
                 1150 Buffalo Road
                 Rochester, NY 14624


                 Catholic Charities - Wayne County
                 94 Exchange Street
                 Geneva, NY 14456


                 Catholic Charities Community Services
                 Attn: Finance Office
                 94 Exchange Street
                 Geneva, NY 14456


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                 Catholic Charities of the Finger Lakes
                 94 Exchange Street
                 Geneva, NY 14456


                 Catholic Charities of the Roman Catholic
                 Diocese of Rochester
                 1150 Buffalo Raod
                 Rochester, NY 14624


                 Catholic Charities of the Roman Catholic
                 Diocese of Rochester
                 1150 Buffalo Road
                 Rochester, NY 14624


                 Catholic Charities Southern Tier Div.
                 215 E. Church Street
                 Suite 101
                 Elmira, NY 14901


                 Catholic Charities, Inc.
                 1150 Buffalo Road
                 Rochester, NY 14624


                 Catholic Family Center
                 87 N. Clinton Avenue
                 Rochester, NY 14604-1007


                 Catholic Newman Comm. at Univ. of Roch.
                 Interfaith Chapel
                 1425 Joseph C. Wilson Boulevard
                 Rochester, NY 14627


                 Catholic Relief Services
                 US Conference of Catholic Bishops
                 3211 Fourth St NE
                 Washington, DC 20017


                 Chase
                 P.O. Box 182051
                 Columbus, OH 43218


                 CHUBB Group of Insurance Companies
                 One Beaver Valley Road
                 Wilmington, DE 19803



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                 Church Mutual Insurance Co.
                 P.O. Box 342
                 Merrill, WI 54452


                 Church of St. Jerome
                 207 Garfield Street
                 East Rochester, NY 14445


                 Church of the Assumption
                 20 East Avenue
                 Fairport, NY 14450


                 Church of the Resurrection
                 63 Mason Road
                 Fairport, NY 14450


                 Church of the Transfiguration
                 50 West Bloomfield Road
                 Pittsford, NY 14534


                 Crystal Pix, Inc.
                 84 South Main Street
                 Fairport, NY 14450


                 Curriculum Associates, LLC
                 P.O. Box 936600
                 Atlanta, GA 31193-6600


                 Daniel Levin, Esq.
                 Levin Sedran & Berman
                 510 Walnut Street, Suite 500
                 Philadelphia, PA 19106


                 David Andrews
                 Meadowood
                 151 Bluebird Crossing
                 Lansdale, PA 19446-5843


                 David Cataline
                 18 Universal Avenue
                 Geneva, NY 14456


                 Dell USA
                 P.O. Box 643561
                 Pittsburgh, PA 15264-3561

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                 DOR-Lay Pension Trust
                 1150 Buffalo Road
                 Rochester, NY 14624


                 Doritex Corporation
                 11980 Walden Avenue
                 Alden, NY 14004


                 Doyle Security Systems Inc.
                 792 Calkins Road
                 Rochester, NY 14623


                 ElderOne
                 2066 Hudson Avenue
                 Rochester, NY 14617


                 Electrostim Medical Services Inc.
                 3504 Cragmont Drive, Suite 100
                 Tampa, FL 33619


                 Elizabeth Castner
                 226 East Main Street
                 Penn Yan, NY 14527


                 Emanuel Petracca
                 c/o R & R Support Services, Inc.
                 100 Linden Oaks, Suite 200
                 Rochester, NY 14625


                 Emmanuel, Church of the Deaf
                 34 Monica Street
                 Rochester, NY 14619


                 Employee Network, Inc.
                 1040 Vestal Parkway E.
                 Vestal, NY 13850


                 Equian
                 363 Ford Hill Road
                 Berkshire, NY 13736


                 Excellus
                 165 Court Street
                 Rochester, NY 14647


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                 Excellus Blue Cross/Blue Shield
                 P.O. Box 5266
                 Binghamton, NY 13902-5266


                 Fidelity Investments
                 c/o Burke Group
                 80 Linden Oaks Drive
                 Suite 210
                 Rochester, NY 14625


                 Fidelity Security Life Insurance
                 162 Prospect Hill Road
                 Suite 101A
                 Brewster, NY 10509-2374


                 First National Bank of Dryden
                 7 West Main Street
                 Dryden, NY 13053


                 Frontier Communication Corp.
                 401 Merritt 7
                 Norwalk, CT 06851


                 Frontier Communications Corp.
                 401 Merritt 7
                 Norwalk, CT 06851


                 Frontier Telephone of Rochester
                 P.O. Bx 740407
                 Cincinnati, OH 45274-0407


                 George Bastedo
                 10768 Anstee Road
                 Clyde, NY 14433


                 Good Shepherd Catholic Community
                 P.O. Box 296
                 Aurora, NY 13026


                 GreenLight Networks
                 1255 University Avenue
                 Suite 204
                 Rochester, NY 14604




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                 Greg Sheefield
                 42 Crestview Drive East
                 Pine City, NY 14871


                 Holy Apostles
                 7 Austin Street
                 Rochester, NY 14606


                 Holy Cross
                 375 George Road
                 Freeville, NY 13068


                 Holy Cross
                 4492 Lake Avenue
                 Rochester, NY 14612


                 Holy Family
                 85 North Street
                 Auburn, NY 13021


                 Holy Family Catholic Community
                 206 Fremont Street
                 Wayland, NY 14572


                 Holy Spirit
                 1355 Hatch Road
                 Webster, NY 14580


                 Holy Trinity
                 1460 Ridge Road
                 Webster, NY 14580


                 HR Works, Inc.
                 200 WillowBrook Office Park
                 Fairport, NY 14450


                 Immaculate Conception
                 113 N. Geneva Street
                 Ithaca, NY 14850


                 Immaculate Conception/St. Bridget
                 445 Frederick Douglass St.
                 Rochester, NY 14608



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                 Info Advantage Inc.
                 769 Emerson Street
                 Rochester, NY 14613


                 James A. Schwartz
                 43 Gebhardt Road
                 Penfield, NY 14526


                 James Muscatella
                 81 Landstone Terrace
                 Rochester, NY 14606


                 JC Fibers Rochester Inc.
                 1801 Mount Read Boulevard
                 Rochester, NY 14615


                 John E. Ehmann
                 1857 N. Adams Street
                 South Bend, IN 46628-3238


                 John Murray
                 P.O. Box 235
                 Keuka Park, NY 14478


                 John Yankton
                 27 Grove Avenue
                 Auburn, NY 13021


                 Jordan Merson, Esq.
                 Merson Law, PLLC
                 150 East 58th Street, 34th Floor
                 New York, NY 10155


                 Joseph Martuscello
                 40 Houghton Circle
                 Corning, NY 14830


                 Joseph Maurici
                 104 Chili Wheatland Townline Road
                 Scottsville, NY 14546


                 K & D Disposal Inc.
                 5076 NY-31
                 Newark, NY 14513


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                 Keidel's Inc.
                 P.O. Box 565
                 Rushville, NY 14544


                 Kelner & Kelner
                 140 Broadway, 37th Floor
                 New York, NY 10005


                 Key Bank
                 P.O. Box 93855
                 Cleveland, OH 44101


                 Lasertec
                 8455 Kirk Drive
                 Colorado Springs, CO 80908


                 Leander L. James, Esq.
                 James, Vernon & Weeks, P.A.
                 1626 Lincoln Way
                 Coeur D Alene, ID 83814


                 Leo J. Roth Corp.
                 840 Holt Road
                 Webster, NY 14580


                 Leo J. Roth Corporation
                 841 Holt Road
                 Webster, NY 14580


                 Lifetime Benefit Solutions
                 Attn: Reimbursement Account Admin Dept
                 165 Court Street
                 Rochester, NY 14647


                 Lineage
                 385 North French Road
                 Buffalo, NY 14228


                 Lloyd's of London Underwriters
                 One Lime Street
                 London EC3M 7HA
                 UNITED KINGDOM




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                 M&T Bank
                 255 East Avenue
                 Rochester, NY 14624


                 Mail Finance
                 478 Wheelers Farm Road
                 Milford, CT 06461


                 Margaret Joynt
                 6 Warder Drive
                 Pittsford, NY 14534


                 Mark Wegener
                 809 West Church Street
                 Elmira, NY 14905


                 Marsh Risk Consulting
                 550 S. Main Street
                 Suite 525
                 Greenville, SC 29601


                 Mary BroyldBell
                 600 Island Cottage Road, #225
                 Rochester, NY 14612


                 Mary Lynch
                 105 Upland Drive
                 Rochester, NY 14617


                 Mary's Place Refugee Outreach
                 414 Lexington Avenue
                 Rochester, NY 14613


                 Mary, Mother of Mercy
                 P.O. Box 337
                 Ovid, NY 14521


                 McCullagh Coffee
                 245 Swan Street
                 Buffalo, NY 14204


                 ME Burgess & Co.
                 1900 Brewerton Road
                 Syracuse, NY 13211


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                 Merkel Donohue
                 106 Despatch Drive, Suite 2
                 East Rochester, NY 14445


                 Michael Reck, Esq.
                 Jeff Anderson & Associates
                 57 West 57th Street, 4th Floor
                 New York, NY 10019


                 Michael T. Pfau, Esq.
                 Pfau Cochran Vertetis Amala
                 Columbia House
                 403 Columbia Street, Suite 500
                 Seattle, WA 98104


                 Microworx
                 20 Allens Creek Road
                 Rochester, NY 14615


                 Mitchell Garabedian, Esq.
                 Law Offices of Mitchell Garabedian
                 100 State Street, 6th
                 Boston, MA 02109


                 Mitchell Script Advisor
                 110 Theory, Suite 250
                 Irvine, CA 92617


                 Mondavi Design
                 1 Modavi Circle
                 Spencerport, NY 14559


                 Monroe 2 - Orleans BOCES
                 3599 Big Ridge Road
                 Spencerport, NY 14559-1799


                 Monroe County Water Authority
                 475 Norris Drive
                 Rochester, NY 14610


                 More Direct, Inc.
                 3401 N. Federal Highway
                 Suite 216
                 Boca Raton, FL 33431



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                 MoreDirect, Inc.
                 P.O. Box 536464
                 Pittsburgh, PA 15253-5906


                 Mutual of Omaha
                 Payment Processing Center
                 P.O. Box 2147
                 Omaha, NE 68103-2147


                 Mutual of Omaha Insurance
                 3300 Mutual of Omaha Plaza
                 Omaha, NE 68175


                 My Catholic Faith Delivered
                 12603 Hemlock
                 Suite C
                 Overland Park, KS 66213


                 Nathaniel L. Foote, Esq.
                 Andreozzi & Associates, P.C.
                 111 North Front Street
                 Harrisburg, PA 17101


                 Nativity of the BVM, Brockport
                 152 Main Street
                 Brockport, NY 14420


                 Nativity Preparatory Academy
                 15 Whalin St
                 Rochester, NY 14620


                 New Wave Energy Corporation
                 434 Delaware Avenue
                 Buffalo, NY 14202


                 New York Physical Medicine Center
                 1295 Portland Avenue, Suite 9
                 Rochester, NY 14621-2726


                 New York State Attorney General
                 28 Liberty Street
                 New York, NY 10005




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                 New York State Catholic Conference
                 465 State Street
                 Albany, NY 12203-1004


                 New York State Unemployment Insurance
                 P.O. Box 4301
                 Binghamton, NY 13902


                 Newman Catholic Campus Min. of Geneseo
                 Interfaith Center
                 11 Franklin Street
                 Geneseo, NY 14454


                 Newman Community - Geneseo
                 c/o St. Luke the Evangelist
                 13 North Street
                 Geneseo, NY 14454


                 Newman Community - RIT
                 RIT Center for Religious Life
                 40 Lomb Memorial Drive
                 Rochester, NY 14623


                 Newman Community at Ithaca College
                 c/o Cornell Catholic Community
                 548 College Avenue
                 G-19 Anabel Taylor Hall
                 Ithaca, NY 14853


                 Newman Community of Univ. of Rochester
                 Interfaith Chapel
                 1045 Wilson Boulevard
                 Rochester, NY 14627


                 NFCYM
                 Progress in Planning
                 6745 Kingery Highway
                 Willowbrook, IL 60527


                 Nicholas H. Noyes Memorial Hospital
                 111 Clara Barton Street
                 Dansville, NY 14437-9527


                 Omni Underwriting Managers, LLC
                 726 Exchange Street, Suite 618
                 Buffalo, NY 14210

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                 Omni Underwriting Managers, LLC
                 726 Exchange Street
                 Suite 618
                 Buffalo, NY 14210


                 Orkin Pest Control
                 205 Summit Point Drive, Suite 3B
                 Henrietta, NY 14467


                 Our Lady of Lourdes
                 150 Varinna Drive
                 Rochester, NY 14618


                 Our Lady of Peace
                 130 Exchange Street
                 Geneva, NY 14456


                 Our Lady of the Lakes
                 210 Keuka Street
                 Penn Yan, NY 14527


                 Our Lady of the Snow
                 2667 Hamilton Street
                 Weedsport, NY 13166


                 Our Lady of the Valley
                 27 Erie Avenue
                 Hornell, NY 14843


                 Our Lady of Victory
                 210 Pleasant Street
                 Rochester, NY 14604


                 Our Lady Queen of Peace
                 601 Edgewood Avenue
                 Rochester, NY 14618


                 Our Mother of Sorrows
                 5000 Mount Read Boulevard
                 Rochester, NY 14612


                 Parish of the Most Holy Name of Jesus
                 1010 Davis Street
                 Elmira, NY 14901


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                 Paul Schnacky
                 34 Center Street
                 Apt. 1
                 Hornell, NY 14843


                 Peace of Christ
                 25 Empire Boulevard
                 Rochester, NY 14609


                 People Systems
                 5795 Waterways Parkway
                 Syracuse, NY 13214


                 People Systems
                 5795 Widewaters Parkway
                 Syracuse, NY 13214


                 Perry's Ice Cream Co.
                 One Ice Cream Plaza
                 Akron, NY 14001-1031


                 Person Centered Housing Options, Inc
                 31 West Street
                 Fairport, NY 14450


                 Providence Housing Development Corp
                 1150 Buffalo Road
                 Rochester, NY 14624


                 Providence Housing Development Corp.
                 1150 Buffalo Road
                 Rochester, NY 14624


                 Provident Life and Casualty Inc.
                 1 Mercantile Street
                 Worcester, MA 01608


                 RBA Staffing
                 150 State Street
                 Suite 400
                 Rochester, NY 14614


                 Reverend Thomas P. Dugan
                 150 French Road
                 Rochester, NY 14618

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                 RIT Newman
                 Rochester Institute of Technology
                 1 Lomb Memorial Drive
                 Rochester, NY 14623


                 Rochester Catholic Press Association
                 1150 Buffalo Road
                 Rochester, NY 14624


                 Rochester Gas & Electric
                 89 East Avenue
                 Rochester, NY 14649


                 Ronald R. Benjamin, Esq.
                 Law Office of Ronald R. Benjamin
                 126 Riverside Drive
                 P.O. Box 607
                 Binghamton, NY 13902


                 RSUI Indemnity Company
                 945 E. Paces Ferry Road
                 Suite 1800
                 Atlanta, GA 30326


                 Sacred Heart
                 90 Melrose Road
                 Auburn, NY 13021


                 Sean Bassler
                 129 Acorn Drive
                 Horseheads, NY 14845


                 Siemens Industry Inc.
                 c/o CitiBank
                 P.O. Box 2134
                 Carol Stream, IL 60132-2134


                 Siemens Industry Inc.
                 1000 Deerfield Parkway
                 Buffalo Grove, IL 60089


                 SJ Parking LLC
                 259 Alexander St
                 Rochester, NY 14607



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                 Society for the Propogation of the Faith
                 1150 Buffalo Road
                 Rochester, NY 14624


                 Ss. Isidore & Maria Torribia
                 51 Maple Street
                 Addison, NY 14801


                 Ss. Mary and Martha
                 299 Clark Street
                 Auburn, NY 13021


                 St. Agnes
                 108 Prospect Street
                 Avon, NY 14414


                 St. Alphonsus
                 10 S. Lewis Street
                 Auburn, NY 13021


                 St. Ann's - Owasco
                 4890 Twelve Corners Road
                 Auburn, NY 13021


                 St. Anne
                 150 Varinna Drive
                 Rochester, NY 14618


                 St. Anthony
                 312 Locke Road
                 Groton, NY 13073


                 St. Benedict
                 95 N. Main Street
                 Canandaigua, NY 14424


                 St. Benedicts - Odessa
                 304 Speedway
                 Odessa, NY 14869


                 St. Bernard's School of Theology &
                 Ministry
                 120 French Road
                 Rochester, NY 14618


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                 St. Bernard's School of Theology & Min.
                 120 French Road
                 Rochester, NY 14618


                 St. Boniface
                 330 Gregory Street
                 Rochester, NY 14620


                 St. Catherine of Siena
                 302 Saint Catherine Circle
                 Ithaca, NY 14850


                 St. Catherine of Siena
                 26 Mendon-Ionia Road
                 Mendon, NY 14506


                 St. Charles Borromeo
                 3003 Dewey Avenue
                 Rochester, NY 14616


                 St. Christopher
                 P.O. Box 399
                 North Chili, NY 14514


                 St. Elizabeth Ann Seton
                 P.O. Box 149
                 Hamlin, NY 14464


                 St. Frances Xavier Cabrini
                 124 Evergreen Street
                 Rochester, NY 14605


                 St. Francis & St. Clare
                 25 Center Street
                 Waterloo, NY 13165


                 St. George
                 150 Varinna Drive
                 Rochester, NY 14618


                 St. John of Rochester
                 8 Wickford Way
                 Fairport, NY 14450



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                 St. John the Evangelist
                 2400 West Ridge Road
                 Rochester, NY 14626


                 St. John the Evangelist
                 55 Martha Street
                 Spencerport, NY 14559


                 St. John Vianney
                 32 E. Morris Street
                 Bath, NY 14810


                 St. John Vianney Center
                 151 Woodbine Road
                 Downingtown, PA 19335-3057


                 St. Joseph
                 43 Gebhardt Road
                 Penfield, NY 14526


                 St. Joseph the Worker
                 43 W. DeZeng Street
                 Clyde, NY 14433


                 St. Kateri Tekakwitha
                 445 Kings Highway S.
                 Rochester, NY 14617


                 St. Katharine Drexel
                 52 Main Street
                 Macedon, NY 14502-1000


                 St. Lawrence
                 1000 N. Greece Road
                 Rochester, NY 14626


                 St. Leo
                 P.O. Box 725
                 Hilton, NY 14468


                 St. Louis
                 64 S. Main Street
                 Pittsford, NY 14534



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                 St. Luke The Evangelist
                 13 North Street
                 Geneseo, NY 14454


                 St. Marianne Cope
                 3318 E. Henrietta Road
                 Henrietta, NY 14467


                 St. Mark
                 54 Kuhn Road
                 Rochester, NY 14612


                 St. Martin De Porres
                 198 North Street
                 Caledonia, NY 14423


                 St. Mary
                 15 Clark Street
                 Auburn, NY 13021


                 St. Mary
                 15 Saint Mary's Place
                 Rochester, NY 14607


                 St. Mary of the Lake
                 P.O. Box 289
                 Watkins Glen, NY 14891


                 St. Mary Our Mother
                 816 West Broad Street
                 Horseheads, NY 14845


                 St. Mary, Honeoye
                 P.O. Box 725
                 Honeoye, NY 14471


                 St. Matthew
                 P.O. Box 77
                 Livonia, NY 14487


                 St. Maximillian Kolbe
                 5823 Walworth Road
                 Ontario, NY 14519



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                 St. Michael
                 401 S. Main Street
                 Newark, NY 14513


                 St. Monica
                 34 Monica Street
                 Rochester, NY 14619


                 St. Patrick
                 115 Maple Avenue
                 Victor, NY 14564


                 St. Patrick's
                 300 Main Street
                 Owego, NY 13827


                 St. Paul
                 783 Hard Road
                 Webster, NY 14580


                 St. Paul of the Cross
                 37 Monroe Street
                 Honeoye Falls, NY 14472


                 St. Peter
                 12 Hibbard Avenue
                 Clifton Springs, NY 14432


                 St. Pius X
                 3010 Chili Avenue
                 Rochester, NY 14624


                 St. Rita
                 1008 Maple Drive
                 Webster, NY 14580


                 St. Rose
                 P.O. Box 8A
                 Lima, NY 14485


                 St. Stanislaus Kostka
                 34 Saint Stanislaus Street
                 Rochester, NY 14621



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                 St. Theodore
                 168 Spencerport Road
                 Rochester, NY 14606


                 St. Thomas More
                 2617 East Avenue
                 Rochester, NY 14610


                 Staples Advantage
                 500 Staples Drive
                 Framingham, MA 01702


                 Stephen A. Segar, Esq.
                 Segar & Sciortino PLLC
                 400 Meridian Centre, Suite 320
                 Rochester, NY 14618


                 Stephen Boyd, Esq.
                 Law Offices of Steven Boyd & John Elmore
                 40 North Forest Road
                 Williamsville, NY 14221


                 Steven Lewis
                 c/o St. Charles Borromeo
                 3003 Dewey Avenue
                 Rochester, NY 14616-3731


                 Technical System Group, Inc.
                 1799 N. Clinton Avenue
                 Rochester, NY 14621


                 Technical Systems Group, Inc.
                 1799 Clinton Avenue North
                 Rochester, NY 14621


                 Technical Systems Group, Inc.
                 1799 N. Clinton Avenue
                 Rochester, NY 14621


                 Ted Hosmer, Inc.
                 P.O. Box 888
                 Henrietta, NY 14467




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                 Ted Hosmer, Inc.
                 1249 Lehigh Station Road
                 Henrietta, NY 14467


                 The Bank of New York
                 240 Greenwich Street
                 New York, NY 10286


                 The Cause Collaborative
                 55 Railroad Street
                 Suite 113
                 Rochester, NY 14609


                 The Communis Fund of the Diocese
                 of Rochester, Inc
                 1150 Buffalo Road
                 Rochester, NY 14624


                 The Diocese of Rochester Lay Employees
                 Retirement Accumulation Plan
                 1150 Buffalo Road
                 Rochester, NY 14624


                 The Diocese of Rochester Priests'
                 Retirement Plan
                 1150 Buffalo Road
                 Rochester, NY 14624


                 The Links at Greystone
                 1400 Atlantic Avenue
                 Walworth, NY 14568


                 The Parish of the Holy Family
                 4100 Lyell Road
                 Rochester, NY 14606


                 Thomas Erdle
                 100 McAuley Drive
                 Apt. 275
                 Rochester, NY 14610


                 Thomas Plumb
                 1550 Portland Avenue
                 Apt. 1202
                 Rochester, NY 14621


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                 Thyssenkrupp Elevator Corp.
                 2495 Walden Avenue
                 Suite 600
                 Buffalo, NY 14225


                 Tiara Moye o/b/o Faith Sanders
                 c/o Lipsitz Green Scime Cambria
                 Attn: Max Humann, Esq.
                 42 Delaware Avenue, Suite 120
                 Buffalo, NY 14202


                 Time Warner Cable
                 4145 S. Falkenburg Road
                 Riverview, FL 33578-8652


                 Toshiba Business Solutions
                 275 Kenneth Drive, Suite 400
                 Rochester, NY 14623


                 Toshiba Business Solutions
                 275 Kenneth Drive
                 Suite 400
                 Rochester, NY 14623


                 Town of Marion
                 P.O. Box 260
                 Marion, NY 14505-0260


                 Town of Marion
                 P.O. Box 260
                 Marion, NY 14505


                 TruGreen
                 860 Ridge Lake Boulevard
                 Memphis, TN 38120


                 U.S. Conference of Catholic Bishops
                 3211 Fourth Street, N.E.
                 Washington, DC 20017


                 U.S. Conference of Catholic Bishops
                 P.O. Box 96992
                 Washington, DC 20090-6992




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                 Univera HealthCare Direct
                 165 Court Street
                 Rochester, NY 14647


                 VARIOUS SEX ABUSE CLAIMANTS



                 Verizon
                 P.O. Box 489
                 Newark, NJ 07101-0489


                 Verizon Wireless
                 P.O. Box 408
                 Newark, NJ 07101-0408


                 Waldorf Risk Solutions LLC
                 P.O. Box 590
                 Huntington, NY 11743


                 Wayne County Water and Sewer
                 3377 Dansen Road
                 Walworth, NY 14568


                 WB Mason Co.
                 59 Centre Street
                 Brockton, MA 02303


                 Wegmans
                 P.O. Box 92217
                 Rochester, NY 14692


                 Weitz & Luxenberg
                 700 Broadway
                 New York, NY 10003


                 William Graf
                 681 High Street
                 Apt. 171
                 Victor, NY 14564


                 Wilmington Trust
                 1100 North Market Street
                 Wilmington, DE 19890



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                 Windstream Comminucations
                 P.O. Box 3177
                 Cedar Rapids, IA 52406-3177




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                                                                             FORM G
                                                               United States Bankruptcy Court
                                                                     Western District of New York
 In re      The Diocese of Rochester                                                                        Case No.
                                                                                 Debtor(s)                  Chapter    11



                                                     DECLARATION RE: ELECTRONIC FILING OF
                                                      PETITION, SCHEDULES & STATEMENTS
PART I - DECLARATION OF PETITIONER
          I (WE) Lisa M. Passero and                        , the undersigned debtor(s), hereby declare under penalty of
perjury that the information provided in the electronically filed petition, statements, and schedules is true and correct and
that I signed these documents prior to electronic filing. I consent to my attorney sending my petition, statements and
schedules to the United States Bankruptcy Court. I understand that this DECLARATION RE: ELECTRONIC FILING is to
be executed at the First Meeting of Creditors and filed with the Trustee. I understand that failure to file the signed original
of this DECLARATION may cause my case to be dismissed pursuant to 11 U.S.C. § 707(a)(3) without further notice. I
(we) further declare under penalty of perjury that I (we) signed the original Statement of Social Security Number(s),
(Official Form B21) prior to the electronic filing of the petition and have verified the 9-digit social security number displayed
on the Notice of Meeting of Creditors to be accurate.
                  If petitioner is an individual whose debts are primarily consumer debts and who has chosen to file under a
chapter: I am aware that I may proceed under chapter 7, 11, 12 or 13 of Title 11, United States Code, understand the
relief available under each chapter, and choose to proceed under this chapter. I request relief in accordance with the
chapter specified in this petition. I (WE)        and     , the undersigned debtor(s), hereby declare under penalty of
perjury that the information provided in the electronically filed petition, statements, and schedules is true and correct.
                 If petitioner is a corporation or partnership: I declare under penalty of perjury that the information
provided in the electronically filed petition is true and correct, and that I have been authorized to file this petition on behalf
of the debtor. The debtor requests relief in accordance with the chapter specified in this petition.
                  If petitioner files an application to pay filing fees in installments: I certify that I completed an application to
pay the filing fee in installments. I am aware that if the fee is not paid within 120 days of the filing date of filing the petition,
the bankruptcy case may be dismissed and, if dismissed, I may not receive a discharge of my debts.
 Dated:           September 12, 2019

 Signed:          /s/ Lisa M. Passero
                  Lisa M. Passero
                  (Applicant)                                                                (Joint Applicant)
PART II - DECLARATION OF ATTORNEY
        I declare under penalty of perjury that the debtor(s) signed the petition, schedules, statements, etc., including
the Statement of Social Security Number(s), Official Form B21, before I electronically transmitted the petition, schedules,
and statements to the United States Bankruptcy Court, and have followed all other requirements in Administrative Orders
and Administrative Procedures, including submission of the electronic entry of the debtor(s) Social Security number into
the Court's electronic records. If an individual, I further declare that I have informed the petitioner (if an individual) that [he
or she] may qualify to proceed under chapter 7, 11, 12 or 13 of Title 11, United States Code, and have explained the relief
available under each chapter. This declaration is based on the information of which I have knowledge.
 Dated:           September 12, 2019                                                   /s/ Stephen A. Donato
                                                                                       Stephen A. Donato
                                                                                       Attorney for Debtor(s)

                                                                                       Address of Attorney
                                                                                       One Lincoln Center
                                                                                       Syracuse, NY 13202
                                                                                       (315) 218-8000 Fax:(315) 218-8100
                                                                                       sdonato@bsk.com




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